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                          DECLARATION OF LISA KOOP
                    NATIONAL DIRECTOR OF LEGAL SERVICES
                 FOR THE NATIONAL IMMIGRANT JUSTICE CENTER

I, Lisa Koop, certify under penalty of perjury that the following statement is true and correct
pursuant to 28 U.S.C. § 1746.

   1. My name is Lisa Koop. I am the national director of legal services at the National
      Immigrant Justice Center (NIJC), registered as a nonprofit organization under the name
      NIJC, NFP. NIJC’s mission is to establish and defend the legal rights of immigrants and
      to transform the immigration system into one that affords equal opportunity for all. I have
      worked with NIJC’s legal services teams since 2006.

   2. NIJC is a national organization headquartered in Chicago, Illinois. NIJC is the primary
      organization dedicated to providing legal orientation, consultations, and application
      support to unrepresented individuals appearing before the Chicago Immigration Court
      through NIJC’s Immigration Court Helpdesk. NIJC also sometimes assists asylum
      seekers and other immigrants who face removal proceedings around the southern border.

A. The Recent Practice of Dismissing Regular Removal Proceedings (or “240
   Proceedings”) to Place People in Expedited Removal

   3. The Chicago Immigration Court is split between two locations: a primary location at 55
      E. Monroe Street, Suite 1500, Chicago, and a second location at 536 S. Clark Street,
      Chicago. There are currently about 15 Immigration Judges (IJs) assigned to the Chicago
      Immigration Court.

   4. NIJC runs an immigration court helpdesk to respond to questions, both telephonically and
      in person, posed by pro se individuals. The helpdesk was developed to provide high
      volume legal services to unrepresented immigrants. NIJC attorneys explain the legal
      process to pro se individuals, orient them to immigration forms, and explain how to file
      for legal remedies. NIJC has been doing helpdesk work at the Chicago Immigration Court
      for more than 10 years.

   5. To my knowledge, NIJC has never seen attorneys for the Department of Homeland
      Security (DHS) seek dismissal of cases in removal proceedings for the purpose of placing
      people into the expedited removal process. I am also not aware of a single instance of
      NIJC observing Immigration and Customs Enforcement (ICE) agents taking a person into
      custody at their removal hearing in the absence of new adverse information, such as a
      criminal conviction.

   6. On May 21, 2025, NIJC received reports that ICE agents were arresting noncitizens at the
       Chicago Immigration Court. An NIJC attorney went to the Chicago Immigration Court
       and ascertained that DHS attorneys were orally moving for dismissal of cases. Initially,
       the DHS attorneys stated the basis of dismissal was government convenience. They then
       stated they were seeking dismissal to place people into expedited removal. DHS attorneys
       sought dismissal in some cases where a noncitizen had been present in the United States
       for less than two years.
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7. These motions by DHS attorneys were made at master calendar hearings. In the cases
   where DHS attorneys moved for dismissal, detention of the individual usually followed.
   A plainclothes ICE agent in the courtroom appeared to send a message on their phone to
   ICE agents who were waiting outside the courtroom. The ICE officers in the hallway then
   arrested the individual.

8. In some cases that NIJC attorneys observed, IJs gave the individuals time, generally ten
   days, to respond to the DHS attorney’s motion to dismiss and did not immediately grant
   the motion. NIJC did not see any judge refuse the motion based on DHS’s failure to file it
   in advance of the proceeding, even though the Immigration Court Practice Manual
   instructs motions to be filed in advance in non-detained cases. See Immigration Court
   Practice Manual § 3.1(b). NIJC is aware of two cases where IJs granted dismissal. Even
   where IJs did not immediately grant dismissal for purposes of placement into expedited
   removal proceedings, ICE agents nonetheless detained individuals where DHS made such
   motions.

9. NIJC attorneys quickly organized to provide people appearing before the Chicago
   Immigration Court with information about their rights and the ICE arrests. NIJC returned
   to the courthouse on subsequent days and continued observing this process and advising
   noncitizens of their rights. Over the course of about a week, NIJC staff observed DHS
   attorneys seeking dismissal to pursue expedited removal in front of various judges in at
   least four different courtrooms.

10. Nearly every day since May 21, 2025, NIJC attorneys have seen ICE agents at the
    Chicago Immigration Court, which is outside the norm. On most days, NIJC attorneys
    observed at least one ICE agent assigned to monitor master calendar hearings while three
    agents, all in plainclothes, were stationed in the hallways outside the court rooms to arrest
    individuals.

11. The majority of individuals who were detained by ICE agents were not represented by
    attorneys. NIJC attorneys attempted to provide these individuals with basic information
    about their rights before and after their hearings. However, it was not possible to provide
    detailed information to these individuals before their detention because ICE agents would
    quickly arrest and move individuals from public areas of the court.

12. In the first week of observing this new trend, NIJC attorneys observed at least 10 people
    face dismissal and detention on this basis. This number likely reflects only a fraction of
    the people who experienced this process because NIJC has limited capacity to send
    attorneys to observe court. Moreover, NIJC usually does not assign NIJC attorneys to
    specific courtrooms. Instead, NIJC attorneys generally interact with people one-on-one
    outside of the courtrooms. To observe and advise on these issues, NIJC attorneys had to
    go into specific courtrooms, meaning NIJC attorneys could only observe one master
    calendar hearing docket at a time, even though multiple were occurring at the same time.

13. ICE arrests in the Chicago Immigration Court have caused significant fear, confusion,
    and distress. NIJC attorneys saw multiple people separated from their loved ones.
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   14. For example, ICE agents detained a young woman who appeared to have been granted
       parole to enter the United States with her family through the CBP One application. She
       appeared to have filed an application for asylum. Though the IJ did not grant the DHS
       attorney’s motion to dismiss, ICE agents detained her. Her family waited for her outside
       of the courtroom for hours and only learned her whereabouts after she was finally
       permitted a phone call from ICE custody later that night. Her family reports worrying for
       the safety of their daughter, who must now proceed with her case while detained and
       isolated from her loved ones.

   15. In another example, ICE agents detained an Arabic-speaking man who also appeared to
       have filed an application for asylum. ICE agents took him into custody even though the
       Court had not dismissed his proceedings. ICE officers separated him from the relative
       who had accompanied him to court and refused to answer many of that relative’s
       questions. From what NIJC attorneys were able to observe, ICE also did not interpret any
       of their statements to the man into Arabic.

   16. The ICE arrests—as well as the noticeable presence of ICE agents near the entrance to
       and in the hallways outside of the Immigration Court—appear to have already caused
       people to miss their Immigration Court hearings. Indeed, NIJC’s helpdesk telephone line
       has already received calls inquiring as to whether it is safe to appear in court.

   17. Noncitizens who do not appear for their Immigration Court hearing can be issued
       removal orders in absentia. If the individual does not move to reopen the in absentia
       removal order—a process which requires legally complex arguments and, often, attorney
       assistance—the person can be removed from the United States without even seeing an IJ.

B. Ongoing Issues with Expedited Removal

   18. The latest developments in the use of expedited removal are particularly alarming given
       that DHS appears to be using expedited removal to disincentivize appearance in court and
       to target people who already have pending applications before the court. These issues are
       in addition to problems with expedited removal that have long existed.

   19. During the first Trump Administration, NIJC worked in San Diego, California in
       collaboration with the Federal Defenders to conduct intakes and consultations with
       people facing expedited removal or reinstated removal proceedings following a
       conviction for illegal entry or reentry under 8 U.S.C. §§ 1325-1326.

   20. In addition, NIJC has a long collaboration with the Border Project in Laredo, Texas,
       which provides Know Your Rights information and helps people prepare for the credible
       fear process as they face expedited removal. I was most recently in Laredo, Texas
       working with detained asylum seekers subjected to credible fear and reasonable fear
       processes in May 2025.

   21. Through these experiences, NIJC has observed at least four problematic trends with
       respect to the expedited removal process.
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22. First, NIJC has regularly encountered people who report that, although they expressed
    that they were afraid to go back to their country of origin, Customs and Border Protection
    (CBP) officers did not refer them for a credible fear interview.

23. For example, NIJC staff members have reviewed cases where CBP agents engage in
    adversarial questioning and conclude no asylum claim is present. NIJC staff have also
    reviewed cases where CBP agents made affirmative assessments about the merit of a
    person’s claim and declined to refer cases for credible fear screening based on an
    incorrect view of the legal standards for asylum.

24. Even in circumstances where NIJC attorneys have tried to affirmatively raise the fear on
    behalf of a person, NIJC’s requests have been ignored. In fact, NIJC represented
    individuals in litigation about the right to seek asylum at the border only to have one of
    NIJC’s plaintiffs removed despite repeated efforts to secure a credible fear interview and
    despite a sworn statement in the litigation expressing fear and a desire to seek asylum.
    See I.A. et al. v. Barr et. al., No. 1:19-cv-02530 (D.D.C.) (consolidated with Capital Area
    Immigrants’ Rights Coalition et al. v. Trump et al., 471 F. Supp. 3d 25 (D.D.C. 2020).

25. The problem of ignoring fear claims became even more pronounced under the Securing
    the Border Rule, which allowed officers to refrain from asking people about their fear
    and to refer people for the credible fear process only if they affirmatively manifested a
    fear of persecution or torture. Las Americas Immigrant Advocacy Ctr. v. DHS, --- F.
    Supp. 3d ---, 2025 WL 1403811 (D.D.C. May 9, 2025). That manifestation standard has
    since been invalidated by a federal court. See id.

26. Second, NIJC regularly represents clients whose expedited removal paperwork contains
    inaccurate information. I and other NIJC attorneys have seen arrest documentation forms,
    like Form I-213, that state that an individual came to “live and work” in the United States
    and that they have no fear of return. Many clients have refuted those statements, and in
    many cases the language appears to have been copied and pasted from a different
    document. In some instances I have reviewed, such language has been attributed to non-
    verbal young children. In other cases, NIJC clients report they have never heard of the
    city or town listed as their intended destination.

27. In one troubling situation, NIJC represented an individual who was subjected to
    expedited removal despite having lived in the United States for more than a decade,
    based on inaccurate information documented on his arrest paperwork. Elvin Alvarado-
    Vega was born in Honduras, but he had resided in the United States since around 2006.
    He had more than 10 years of continuous presence in the United States, U.S. citizen
    children, a father who is a U.S. citizen, and a wife who was a Deferred Action for
    Childhood Arrivals (DACA) recipient when DHS subjected him to expedited removal in
    December 2018.

28. Mr. Alvarado-Vega was apprehended by CBP agents at a checkpoint in Texas. After
   questioning, a CBP agent recorded on a Form I-867A that Mr. Alvarado-Vega had
   departed the U.S. and reentered the country five days earlier, on December 15, 2018. This
   information was untrue. Mr. Alvarado-Vega never told the Border Patrol officer that he
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       had departed the United States or reentered on the date provided. He refuted the
       information about his entry, but the officers continued to apply expedited removal to him.

   29. NIJC tried to get this individual removed from expedited removal and placed into full
       removal proceedings under 8 U.S.C. § 1229a (INA § 240). Those efforts were
       unsuccessful until NIJC filed a petition for a writ of habeas corpus arguing that he had
       been improperly placed into expedited removal. Only then did DHS cancel the expedited
       removal order and place Mr. Alvarado-Vega in full removal proceedings.

   30. Third, NIJC has spoken to people who were reluctant to express a fear of return because
       they experienced or witnessed violence and intimidation from CBP officers during the
       credible fear process. This problem became more pronounced when the Securing the
       Border Rule was in force, where officers used intimidation to undermine attempts by
       individuals to manifest a fear of return.

   31. Finally, the truncated process for expedited removal means that many people never have
       access to counsel or the ability to consult with their families. The expedited removal
       statute allows for a consultation window before a credible fear interview, but the
       government has taken steps to shrink that timeline to as little as four hours. That
       reduction has been invalidated by a court, see Las Americas, 2025 WL 1403811, but the
       period remains very short—as little as 24 hours. It is NIJC’s experience that people
       cannot contact counsel or other support or gather the information that they would need to
       either assert a credible fear or rebut their placement in expedited removal in that short
       time period.

   32. NIJC has also experienced severe communication difficulties as part of the expedited
       removal process. In recent months, two new detention facilities have opened in NIJC’s
       service area and have problematic phone access policies. These facilities charge money
       for attorney-client calls at a rate beyond what people can pay, have long delays (well
       more than 24 hours) for scheduling calls, and often do not allow detained individuals to
       make calls from a confidential setting. These factors exacerbate the challenges inherent in
       the truncated expedited removal process.

   33. The truncated process for screening asylum claims in the expedited removal process is
       particularly harmful for clients who live with mental illness that impacts their
       competency to represent themselves. NIJC has worked with people who had legitimate
       asylum claims based on the mistreatment of people with mental illness in their countries
       of origin, but who, as a function of their disability, were not able to articulate those
       claims. But for having the benefit of representation in the credible fear process, these
       individuals would likely have been removed without an opportunity to present a full
       articulation of their claims for protection.

I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

Executed on the 4th of June 2025, in Goshen, Indiana.

S/ Lisa Koop
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